Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 1 of 35 PageID# 5733




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                             NEWPORT NEWS DIVISION

  ANDREA E. JOHNSON, INDIVIDUALLY AND
  AS PERSONAL REPRESENTATIVE OF THE
  ESTATE OF THADDIUS A. JOHNSON,
  DECEASED AND JENNIFER W. STEVENS,
  ANCILLARY ADMINISTRATOR OF THE
  ESTATE OF THADDIUS A. JOHNSON,
  DECEASED,

  Plaintiffs,

  v.                                                   Case No. 4:18-cv-132-AWA-RJK

  AIR & LIQUID SYSTEMS CORPORATION,
  Successor by Merger to
  BUFFALO PUMPS, INC., et al.,

  Defendants.
  ______________________________________
  PATRICK A. LAUGHLIN
  and DEBORAH J. LAUGHLIN,

  Plaintiffs,

  v.

  AIR & LIQUID SYSTEMS
  CORPORATION, Successor by Merger to
  BUFFALO PUMPS, INC., et al.,

  Defendants.

                     PLAINTIFFS’ OPPOSITION TO JOHN CRANE INC.’S
                        MOTION FOR SUMMARY JUDGMENT

        NOW COME Plaintiffs, by counsel, and oppose John Crane Inc.’s (JCI’s) Motion for

 Summary Judgment in this consolidated case. (ECF 205 (JCI’s MSJ)). This Court should deny

 JCI’s MSJ on the Government Contractor Defense, and it should grant Plaintiffs’ Motion for

 Partial Summary Judgment on the JCI’S Sophisticated Purchaser and Government Contractor



                                             1
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 2 of 35 PageID# 5734




 Defenses for the reasons set forth below and the reasons set forth in Plaintiffs’ Memorandum in

 Support of Motion for Partial Summary Judgment on John Crane Inc.’s Sophisticated Purchaser

 and Government Contractor Defenses Pursuant to FRCP 56, previously filed. (See ECF 209, 210

 (Plaintiffs’ MPSJ)).

                                             SUMMARY

        Johnson’s and Laughlin’s strict liability and negligence claims against JCI are based on

 JCI’s failure to warn them about asbestos hazards inherent in the products JCI supplied to the

 Navy. (4:18cv132, ECF 49, Johnson Amended Complaint; 4:18cv134, ECF 70, Laughlin

 Amended Complaint). JCI alleges the government contractor defense in both cases. 1 There is no

 genuine dispute of material fact regarding this defense, and it should be struck as a matter of law.

        JCI claims that the Navy would not allow it to put warnings on the face of its gaskets and,

 therefore, it is immune under the government contractor defense. JCI cannot prove this defense as

 a matter of law because (a) JCI has disclosed no expert to contest the opinions of Plaintiffs’ expert,

 Dr. Terry Spear, regarding the interpretation and effect of the Federal Hazardous Substances Act

 (“FHSA”) and the Manufacturing Chemists’ Association Manual L-1 (MCA L-1 Guide) as

 incorporated into DOD’s MIL-STD-129, which, in turn was incorporated into the relevant gasket

 and packing specifications; (b) the only expert JCI disclosed to discuss the language and effect of

 the Navy gasket specifications admits that he relies solely on his own personal experience and

 knowledge; yet he admits he never had any experience with any of the specifications at issue; and

 (c) JCI’s experts agree that the Navy was not aware of the hazards of asbestos gaskets and packing

 until at least 1975, but JCI still did not warn. Accordingly, this Court should deny JCI’s MSJ and




 1
  4:18cv132, ECF 85 (Answer to First Amended Complaint in Johnson, at 17, ¶ 7 and 19, ¶ 18);
 4:18cv134, ECF 81 (Answer to First Amended Complaint in Laughlin, at 17, ¶ 7 and 19, ¶ 18).

                                                   2
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 3 of 35 PageID# 5735




 grant Plaintiffs’ MPSJ.

                            LOCAL RULE 56 (b) STATEMENT OF FACTS

        A. Preliminary Statement:

        JCI’s MSJ centers on whether MIL-A-17472, HH-P-46D, HH-P-46E, and MIL-P-17303

 (“the G&P specifications”) prohibited JCI from including a warning on the face of its gasket

 material or on the packages of its valve packing. JCI’s defense revolves around the improper

 interpretation of the procurement specifications and standards as they existed shortly before and

 during Plaintiffs’ exposure periods, when the asbestos sheet gasket and packing materials that

 Plaintiffs used would have been sold to the Navy. This defense does not revolve around how many

 different brands of gasket or packing material was available, whether these products were on a

 qualified products list (QPL), how the G&P specifications were created, or the level of industry

 involvement in the creation of those specifications. Thus, most of the assertions in JCI’s Statement

 of Undisputed Facts are not “material” to the resolution of JCI’s MSJ or Plaintiffs’ MPSJ. In

 contrast, the real material facts that are undisputed in this MSJ and in Plaintiffs’ MPSJ are

 contained in Plaintiffs’ Counterstatement of Undisputed Material Facts in Section C, below.

        Additionally, many of JCI’s statements are supported by the November 21 affidavit of its

 Corporate Representative, George Springs. Plaintiffs have moved this Court to disregard this

 affidavit under the sham affidavit rule because it directly conflicts Springs’ sworn testimony during

 his deposition in these cases only two weeks before he signed the affidavit. (See ECF 223, 224).

 Accordingly, Plaintiffs object to statements based upon Springs’ affidavit.

        Finally, many of JCI’s assertions appear to challenge Lowell’s qualifications; however,

 there is no motion pending on Capt. Lowell, and Courts do not weigh the evidence at the summary

 judgment phase. On the other hand, Plaintiffs have moved to limit the testimony of JCI’s expert,



                                                  3
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 4 of 35 PageID# 5736




 Sargent, because (a) his Report does not comply with Rule 26 (A)(2)(b) on certain material issues;

 (b) he admitted he relies solely on his own experience but has no experience with the G&P

 specifications or MIL-STD-129; (c) he admitted he does not rely on any documents or other

 materials and stated that he has no reliance materials, and (d) admitted that his opinions would not

 change even if the documents referenced in his report were excluded. (See citations and exhibits

 cited in ECF 216, Plaintiffs’ Memorandum in Support of Motion to Limit or Exclude RADM

 Sargent (“Memo Mot. Limit Sargent”)). Because this Court may choose to request additional

 briefing and resolve that motion prior to deciding JCI’s MSJ and Plaintiffs’ MPSJ, Plaintiffs do

 point out where his opinions are unfounded in this Response.

            B. Responses to JCI’s Statement of Undisputed Facts.

            1.    Plaintiffs do not dispute Paragraphs 1-6 of JCI’s Statement of Undisputed Facts.

            2.    Plaintiffs dispute paragraph 7 to the extent that it assumes that gasket material came

 in boxes. Springs has testified that JCI’s gasket material was shipped on pallets or in rolls with

 kraft paper wrapped around the outside. (Ex. 1, Springs Test. in Halsema v. JCI, 4/4/06, at 90).

            3.    Plaintiffs’ do not dispute Paragraphs 8-10.

            4.    Plaintiffs’ dispute Paragraph 11 to the extent that the last sentence mischaracterizes

 Lowell’s employment history. Lowell actually retired as General Manager of Bath Iron Work’s

 Ship Repair Yard in Portland, Maine, in 1995. (Ex. 2, Report & Aff. of Lowell, at 3; see also id.

 at 2-6).

            5.    Regarding Paragraph 12, Plaintiffs admit that Lowell relies, in part, on portions of

 the testimony of Alvin Anceravage, Henry Murad, Adam Martin, and an additional DOD

 employee, Kenneth Nelson, for Lowell’s opinions that MIL-STD-129 “set the ‘minimum

 requirements’ for package labels and that ‘[t]he contractor can put anything on a package.’” (Ex.



                                                    4
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 5 of 35 PageID# 5737




 2, Report & Aff. of Lowell, at 17-18). Plaintiffs also admit that Lowell relies to a lesser degree on

 the testimony of John Haas and Allen Winer, but his reliance on their testimony is mainly limited

 to the fact that the military relied on industry to help develop specifications, which is not really at

 issue here. (Ex. 3, Excerpts of Lowell Depo, Vol. I, at 48-49).

        6.      Regarding Paragraph 13, Plaintiffs do not dispute that Lowell signed an affidavit

 on March 9, 2001 stating that the Navy was “highly sophisticated concerning the makeup and

 properties of gaskets used on Naval warships.” When Haas was asked the question, “Q. Would

 you consider the navy a sophisticated user of material,” he actually responded, “I don’t know what

 ‘sophisticated’ means when you are talking about buying things. Mr. Teuber: Has expertise in the

 type of products that it wants to buy. A. Yes.” (ECF 206-17, at 170:16-26). Plaintiffs admit that

 Haas also discussed “cognizant technical code[s]” during his May 11, 1981, September 15, 1980,

 and October 27, 1982 depositions, and said these are people who are “expert on the mil-spec under

 their cognizance.” He further testified that when he used the word “expert” he meant that “[h]e’s

 an expert to the extent that a person can be an expert on all types of metals. . . . [H]e would try to

 have a composite knowledge, but quite obviously, the experts for any particular product, you

 know, you might equate him or her to perhaps 30, 40, 50 different experts outside [in industry],

 each of whom is a super expert in an individual area or an individual product.” (Ex. 4, Haas Depo

 excerpts, 5-11-81, at 39-40).

        7.      Regarding Paragraph 14, Plaintiffs do not dispute that the technical codes prepare

 the specifications, that the Navy may accept or reject industry suggestions, and that fed-specs may

 be written by multiple agencies. But JCI misreads Haas’ testimony in the last sentence of Paragraph

 14. He actually testified: “Q. Would it ever occur where an individual company would draft the

 specification for the cognizant technical code? A. I would guess it’s possible. Q. Do you have any



                                                   5
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 6 of 35 PageID# 5738




 knowledge of an instance where a company has drafted a specification for a technical code? A.

 Not specifically.” (ECF 206-19, at 48). Additionally, Hass testified in 1981 that (a) when drafting

 a specification, the first thing the Navy did was to see if there was already an existing industry

 specification, such as an ASTM or ASME specification, that could be adopted; (b) that the Navy’s

 engineers are in constant contact with industry technical societies and “don’t work in a vacuum;”

 (c) that manufacturers could propose specifications to the Navy; and (d) that manufacturers

 routinely propose changes to specifications. (Ex. 4, Haas Depo excerpts, 5-11-81, at 32-39).

 According to Haas, “You never try to develop a new spec., either in-house or ask industry to do it,

 if something already exists. And, I say, most things are not new, surprisingly, maybe. Even ships

 are not new.” (Id. at 39).

        8.      Plaintiffs do not dispute Paragraph 15.

        9.      Regarding Paragraph 16, Lowell agreed that gaskets and packing typically had to

 be on the QPL to be sold directly to the Navy. (ECF 206-14, at 59). The Anceravage testimony

 JCI quotes does not mention QPLs at all. (ECF 206-22, at 54). In the last two sentences, JCI cites

 page 58 of Lowell’s deposition. While he agreed that goods were tested to determine whether they

 conform to the specification, he stated, “So as industry came up with new products the Navy would

 be privy to the test results and approve or disapprove qualified products lists and that’s how new

 products came into being. I don’t think the Navy could be anywhere near as active as the sum total

 of industry working in development of gasket material.” (ECF 206-14, at 58). Later, Lowell agreed

 that “specifications for sheet packing and gasket material and other packing materials were largely

 written around off-the-shelf products that were already available.” (Ex. 5, Lowell Depo, Vol II, at

 147). Finally, Sargent testified recently in Mullinex v. JCI that gasket material did not have to be

 on the QPL to be used in the Navy, and that “a manufacturer could very well have a material that



                                                  6
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 7 of 35 PageID# 5739




 fully met the specification, but choose not to submit it to the government for testing against a QPL”

 and it still could be used in the Navy. (Ex. 6, Sargent Depo in Mullinex, 11-18-19, at 61-62).

        10.     Plaintiffs do not dispute Paragraph 17 with the caveat that, as JCI acknowledges in

 its brief, “each of the specifications at issue incorporated by reference MIL-STD-129’s

 requirements for labeling.” (ECF 206, at 1). Accordingly, JCI was required to look, not only at the

 G&P specifications, but also all documents incorporated into those specifications, including MIL-

 STD-129 and its own incorporated references, to determine the labeling of that product.

        11.     Regarding Paragraph 18, Plaintiffs do not dispute that Anceravage stated that

 inspectors from the DLA may be sent to manufacturer’s facilities to inspect goods. JCI claims that

 Sargent says the same, but the cited pages from his testimony do not bear this out. (See ECF 206-

 23, at 269:24-270:5; 271:11-271:16). Rather he states that inspectors would inspect in accordance

 with the specification. As with most off-the-shelf products, the G&P specifications at issue here

 delegated those inspections to the supplier of the product—i.e., JCI—stating: “Unless otherwise

 specified in the contract or purchase order, the supplier is responsible for the performance of all

 inspection requirements as specified herein.” (ECF 206-27, at ¶ 4.1; see also ECF 206-28, at ¶ 4.1;

 ECF 206-29, at ¶ 4.1). Finally, Plaintiffs’ object to JCI’s reliance on the affidavit of George

 Springs, as set forth in the preliminary statement above.

        12.     Regarding paragraph 19, Plaintiffs object to JCI’s reliance on Springs’ affidavit, as

 set forth above. Additionally, Springs did not start working at JCI’s Morton Grove factory until

 1998 and testified that he never spoke to the key JCI employees who handled government sales.

 (Ex. 7, Springs Depo. at 15-19). Plaintiffs do not dispute Martin’s testimony set forth in this

 Paragraph; however, Martin continued by agreeing that he was not aware of anything in MIL-

 STD-129 that prohibited warnings on products. (ECF 206-26, at 20).



                                                  7
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 8 of 35 PageID# 5740




        13.     Plaintiffs do not dispute Paragraphs 20 to 22.

        14.     Plaintiffs object to Paragraph 23 because it is based solely on Springs’ sham

 affidavit. Additionally, it is speculative because Springs admits that he had nothing to do with

 government sales until, at the earliest, 1998—thirteen years after JCI stopped selling asbestos

 gasket and packing products. He also admits that he never spoke to the key people involved in

 Navy sales during the applicable period, and only spoke to unidentified individuals in the past 15

 years—after he retired from JCI—but those conversations only involved “general knowledge. No

 – nothing in particular.” (Ex. 7, Springs Depo, at 15-21). Additionally, JCI destroyed all pre-1977

 sales documents, purchase orders, or invoices, which includes all of Laughlin’s exposure period

 and the majority of Johnson’s exposure period. (Ex. 7, Springs Depo, at 167). So, Springs has no

 documentary evidence to rely upon with regard to Navy sales during that period.

        15.     Regarding Paragraph 24, Plaintiffs do not dispute RADM Sargent’s service history

 or the length of his single-spaced report. But Sargent testified that he relies solely on his own

 experience and knowledge, he does not rely on any documents, and that his opinions would not

 change even if the cited documents in his report were omitted. (Ex. 8, Sargent Depo in Johnson,

 at 27; see also ECF 210, Memo in Supp. MPSJ; ECF 216, Memo Mot. Limit Sargent).

        16.     Regarding Paragraphs 25 through 27, Plaintiffs do not dispute that RADM

 Sargent’s Report states the matters contained in these paragraphs; however, Sargent testified, that

 he relies solely on his own experience and knowledge, as set forth above. (Ex. 8, Sargent Depo in

 Johnson, at 27; see also ECF 210, Plaintiffs’ Memo in Supp. MPSJ; ECF 216, Memo Mot. Limit

 Sargent). Sargent further admits that he did not have any experience using or writing the gasket

 specifications while he was in the Navy and that “the procurement of stuff of the Navy from

 industry” was “not what I was doing” in the Navy. (Ex. 8, Sargent Depo in Johnson at 238).



                                                 8
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 9 of 35 PageID# 5741




 Finally, his opinions are contradicted by MIL-STD-129, which required suppliers to include

 warnings in accordance with the FHSA and MCA L-1 Guide on “package units” of products to be

 ultimately issued to users of, and he admits that a package unit of sheet gasket material was what

 was “being issued to people who will use them; correct? A. Yes, sir. . . . Q. . . . It’s to the actual

 person who’s going to be using it; correct? A. Yeah. Yes, sir. Uh-huh.” (Ex. 8, Sargent Depo in

 Johnson, at 166-67).

        17.     Regarding Paragraph 28 and the first portion of Paragraph 29, Plaintiffs do not

 dispute that Sargent states this in his report but challenge the basis for Sargent’s opinions in this

 regard because Sargent admits he relies solely on his own experience, and admitted he has no

 experience writing, using, or construing the gasket specifications at issue. (See ECF 210, Plaintiffs’

 Memo in Supp. MPSJ; ECF 216, Memo Mot. Limit Sargent). Plaintiffs also demonstrate that,

 while Sargent speculates that JCI would not have been permitted to include any warnings beyond

 those specifically required by the Navy, asbestos warnings were required by DOD through MIL-

 STD-129 by virtue of its incorporation of the FHSA and MCA L-1 Guide. JCI has no witness to

 contest the construction given to these documents by Plaintiffs’ expert, Spear. Regarding the last

 sentence of Para. 29, Haas stated that the while specifications typically do not focus on what is

 prohibited—i.e., negative specifications—negative specifications were occasionally used, and he

 gave at least three examples of negative specifications, including the specification he was

 addressing at the time—the Navy specification prohibiting asbestos in thermal insulation cement,

 Amend 1 to MIL-I-2861D (1974). (Ex. 9, Additional pages of Haas Depo, 9/16/1980, at 148-151).

        18.     Plaintiffs do not dispute Paragraph 30.

        19.     Regarding Paragraph 31, Plaintiffs do not dispute that Lowell opines that the

 specifications state the minimum requirements for labeling products. Lowell relies not only on the



                                                   9
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 10 of 35 PageID# 5742




  1963 GSA Guide to Specifications and Standards, and the 1963 Navy Guide for specifications,

  MIL-STD-129, the testimony of Anceravage, Martin, Nelson, and Murad, the minutes of the

  Navy’s 1942 Minimum Requirements for Safety in Contract Shipyards Conference, MIL-STD-

  1341, Fed. Std. 313, NAVSUP 4500, NAVMAT P-5100, and a number of other documents that

  are discussed in great detail in his Report. (Ex. 2, Lowell Aff. & Report, at 9-20).

         20.     Regarding Paragraph 32, Plaintiffs do not dispute that Lowell relies on the

  definition of “Specifications” contained in the 1963 GSA Guide. JCI admits that the G&P

  specifications contain provisions relating to labeling but attempts to cut these necessary provisions

  from the definition of “Specification” in the GSA Guide. JCI further admits that this GSA

  definition states that specifications are the “minimum requirements for quality and construction,”

  and Sargent admitted that the inspection requirements for these markings falls under the “Quality

  Conformance Inspection” provision of these specifications. (Ex. 6, Sargent Depo in Mullinex, at

  66-68). JCI cites to page 3, ¶¶ 5, 7, and 8 to contend that other parts of the GSA Guide deal with

  markings, but those paragraphs are under the heading, “Benefits Provided by Government

  Specifications and Standards.” That section does not purport to define specifications or guide the

  labeling of products. (ECF 208-3, Ex. 31 to JCI’s MSJ, at 3).

         21.     Regarding Paragraph 33, Plaintiffs do not dispute that Lowell did not work for

  GSA, know anyone who wrote the GSA Guide, and has not talked to anyone at GSA about its

  meaning. JCI’s attorneys claim that Lowell does not point to any document stating that the GSA

  Manual is used to interpret either Mil-specs or Fed-specs applicable to goods to be used on Navy

  ships, but the GSA Guide itself states that it is a Guide for contractors seeking to interpret mil-

  specs and fed-specs, including navy ship specific specifications. (See ECF 208-3, Ex. 31 to JCI’s

  MSJ, at ii (Forward); see also id. at iii (Table of Contents with sections on mil-specs and fed-



                                                   10
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 11 of 35 PageID# 5743




  specs); id. at 13 (specifically discussing “limited” military specs and listing as an example MIL-

  T-15294 (Ships), which is a limited specification only applicable to Navy ships). Plaintiffs do not

  dispute that Lowell refused to guess about what the author of the GSA Guide had in mind.

         22.     Regarding Paragraph 34, Plaintiffs do not dispute that Lowell interprets the 1963

  Navy Manual to state that specifications state the minimum quality level required for adequate

  performance. As noted above, marking of gasket material was inspected as part of the Quality

  Conformance inspection set forth in ¶ 4.4 of each of the versions of the specifications at issue in

  this case. Again, Lowell refused to speculate about “what the author had in mind” and relies on

  the plain language of the Manual.

         23.     Regarding Paragraph 35, Plaintiffs do not dispute the first two sentences. With

  regard to the third sentence, Haas was asked whether warnings were required on “specifically

  cloth, yarn, tape, and threads” (ECF 206-20, at 50), or on insulation products (ECF 206-20, at 57).

  Haas was not asked about gaskets and packing, and he testified that “you have to examine each

  specification, because each specification has its own packaging requirement,” (ECF 206-20, at

  50:5-8). Sargent admitted in Mullinex that he is not an expert in the various DOD levels of

  packaging or the packaging requirements of the gasket specifications. (Ex. 6, Sargent Depo in

  Mullinex, at 139-140). Haas never purported to be an expert in warnings. (ECF 206-20, at 50:1-3).

  Finally, Plaintiffs do not dispute that Lowell relied primarily on MIL-STD-129 and MIL-M-15071.

  Because the equipment defendants have settled or been dismissed, MIL-M-15071, which relates

  to equipment technical manuals is no longer at issue.

         24.     Plaintiffs do not dispute Paragraph 36. Because each of the military and federal

  G&P specifications incorporated MIL-STD-129, this DOD standard became part of the G&P

  specifications, and JCI was required to comply with MIL-STD-129 and its incorporated references,



                                                  11
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 12 of 35 PageID# 5744




  including FHSA and the MCA L-1 Guide. Finally, the representative version of MIL-STD-129

  that JCI attached to its brief, MIL-STD-129E (1970), is significantly different from the only

  version Sargent briefly discussed in his Report, MIL-STD-129D (1960). (ECF 208-2, Ex. 30 to

  JCI’s MSJ, Sargent’s Report, at 35-36). Accordingly, Sargent should not be permitted to discuss

  MIL-STD-129E. On the other hand, Lowell’s Report contains a comprehensive discussion of all

  versions of MIL-STD-129, including MIL-STD-129E. (Ex. 2, Lowell Aff. & Report, at 12-18).

         25.     Plaintiffs do not dispute the first sentence of Paragraph 37. JCI’s own expert,

  Sargent, disagrees with JCI’s spin on Martin’s testimony in the second, third and fourth sentences

  of Paragraph 37. In his report, Sargent states that MIL-STD-129 “is excrutiatingly [sic] detailed

  and complete in specifying all aspects of marking requirements. Compliance with these

  requirements is mandatory. Deviations cannot be made without approval and specific instructions

  from a cognizant military authority.” (ECF 208-2, Ex. 30 to JCI’s MSJ Brief, at 36). Additionally,

  Martin was testifying as an inspector on how an inspector uses MIL-STD-129 to guide his

  inspection; he was not testifying on whether a contractor was required to comply with the

  provisions of MIL-STD-129. Plaintiffs do not dispute the last two sentences of Paragraph 37.

         26.     Plaintiffs do not dispute the first three sentences of Paragraph 38. Though asbestos

  is not specifically referenced in MIL-STD-129, neither are any hazardous substances, including

  trichloroethylene, radiation, and hexavalent chromium. MIL-STD-129 does not have to list

  hazardous substances by name because it incorporates FHSA and the MCA L-1 Guide, which

  define hazardous substances in terms of their properties—toxic, poisonous, flammable, etc.—and

  guide manufacturers on formulating warnings for those hazardous substances. (See Ex. 10,

  Excerpts of Spears Aff. & Report at 80-85). As Spear opines, asbestos fits within the definition of

  “toxic” under FHSA and MCA L-1 Guide and, therefore, required a warning. Additionally, MIL-



                                                  12
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 13 of 35 PageID# 5745




  STD-129E incorporated MIL-STD-1341 and, later, Fed. Std. 313. Both standards put JCI on notice

  that any product that released dust with a threshold limit value (TLV) less than 25 mppcf during

  its normal use—like asbestos—met the definition of “hazardous material” and required warnings.

  Finally, the version of MIL-STD-129 that Lowell was questioned about during his deposition on

  January 21, 2011 was the base version issued in 1951. (ECF 208-6, Ex. 34, Excerpts of Lowell

  depo, 1/21/11, at 180). This was an early version that was issued by the Munitions Board Standards

  Agency. (Id. at 182). His unfamiliarity with that version does not foreclose his review and reliance

  on later version with which he is very familiar.

            27.   With regard to Paragraph 39, Plaintiffs do not dispute that Lowell relied on MIL-

  M-15071 for his opinions regarding “equipment.” At the time Lowell provided his Report and

  Deposition, there were a number of equipment defendants in the case, all of whom have now settled

  or have been dismissed. Thus, MIL-M-15071 is not at issue anymore. Additionally, Lowell’s

  distinction in his Report between equipment manufacturers, like valve and pump manufacturers,

  and component manufacturers, like JCI was necessary to account for his opinions regarding all of

  the defendants, not just JCI.

            28.   Plaintiffs do not dispute the statements in Paragraph 40. Lowell references the

  testimony of JCI’s competitors to support his opinion that warnings could be placed on the face of

  gasket material while the same G&P specifications at issue here were in force. With regard to the

  last sentence, Lowell is not opining on whether the warnings placed on Garlock’s, Anchor’s, and

  Green Tweed’s gaskets were adequate; only that they were able to do what JCI now claims it could

  not do.

            29.   Regarding Paragraph 41, Lowell quotes from a single page of Heffron’s 2009

  deposition in his Report in which Heffron, testifying as Garlock’s corporate representative, states



                                                     13
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 14 of 35 PageID# 5746




  that Garlock put warnings on the face of all of its gasket material beginning in 1977, while HH-P-

  46E was in force. Lowell also provided JCI with his reliance list and copies of the documents on

  that list with his Report. (Ex. 11, Lowell’s Reliance List Index). Item number 61 included “assorted

  testimony by Garlock MKP (Heffron).” Included within that “assorted testimony” was the

  transcript of Heffron’s testimony in Davis v. Garlock, Oct. 28, 2003—a Navy case. In Davis,

  Heffron testified that they put the same warnings on all of their Navy gaskets and packing and that

  they did not treat the Navy any differently. (Ex. 12, Excerpts of Heffron in Davis, 10/28/03, at

  101). Lowell also included excerpts of Heffron’s testimony in In re: Hawaii Asbestos Cases, Sept.

  12, 2007, a deposition involving exposures at Pearl Harbor Naval Shipyard, in which Heffron

  again stated that all of Garlock’s gaskets bore the warning beginning in 1977.

         30.     With regard to Paragraph 42, Plaintiffs do not dispute that Heffron was deposed

  again in this case. During that deposition, Heffron reaffirmed his testimony from Davis and In re:

  Hawaii that, while testifying as corporate representative for Garlock, he stated that Garlock put

  warnings on the face of all of its gasket material, including its Navy gasket material, beginning in

  1977. He confirmed that his testimony in those cases was true and based on his research and

  understanding as Garlock’s corporate representative. While he stated that Garlock’s Navy gasket

  material had an adhesive label with a warning applied directly to the face of the gasket material,

  as opposed to being “branded” into the material itself, his testimony confirms that contractors were

  able to put a warning label directly on the face of their gasket material while HH-P-46E was in

  force. (Ex. 13, Heffron Testimony, 9/13/19, at 13-15, 17-28, 34-40, 46-51). Finally, regardless

  whether he personally recalled seeing a shipment, he was testifying as Garlock’s corporate

  representative in 2003 and 2007 based on the company’s knowledge, not his personal knowledge.

         31.      Regarding Paragraph 43, Plaintiffs do not dispute the first sentence. Plaintiffs also



                                                   14
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 15 of 35 PageID# 5747




  do not dispute that Crowther stated he didn’t know if the warnings made it to the end users. Again,

  Lowell is not relying on Crowther’s testimony for adequacy of warnings; he is relying on it to

  demonstrate that warnings could be placed on the face of gasket material. Crowther testified that

  Green Tweed placed warnings on the face of all of its gasket material. Plaintiffs dispute the

  assertion by JCI’s attorney that this deposition did not involve Navy exposure claims. The

  deposition occurred in a large consolidation of over twenty cases in Texas and the short excerpt

  provided does not apprise Plaintiffs of the allegations or exposure history in each of those cases.

         32.     Regarding Paragraph 44, Plaintiffs do not dispute that Lowell relies on the

  testimony of John Call. Contrary to JCI’s assertion, the 1993 testimony that Lowell relies upon

  establishes that Anchor placed labels on all of their gasket material beginning in the mid-1970s.

  Like JCI, Anchor rebranded Raybestos-Manhattan gasket material. Pursuant to Anchor’s

  directions, Raybestos-Manhattan applied a warning label to all of Anchor’s sheet gasket material

  prior to shipping it to Anchor so that Anchor would not have to open the packaging to apply the

  label. (Ex. 14, Excerpt of Call Depo, 6/25/93, at 90-93). Finally, the 1992 deposition of Call, which

  JCI cites in support of its MSJ is consistent with this testimony and, in any case, it is not on

  Sargent’s reliance list or any other JCI witnesses’ reliance list.

         33.     Plaintiffs Dispute Paragraph 45, Lowell’s full statement was:

         Q. Is it your opinion that the Navy permitted asbestos warnings or did it require asbestos
         warnings to accompany gasket and packing products sold to the Navy?

         A. I believe warnings would have been required. If somebody knew that a product posed a
         danger and I have not seen any warning rejection labels, not one, in my travels to the United
         States archives where the Navy said we do not want to take your advice for a warning
         relative to asbestos. So that’s my story, sir.

         Q. Is it your opinion that the Navy permitted a warning on the face of a gasket or is it your
         opinion that the Navy required a warning on the face of a gasket?

         A. I think it’s my opinion that it was required and would have been permitted if somebody
         petitioned the Navy to allow that to go on the face of the gasket.

                                                    15
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 16 of 35 PageID# 5748




         Q. Why would they have to petition the Navy if it was already required?

         A. Well, I just know that I felt it was required, but it wasn’t there. And then I hear the story,
         well, the Navy never would have let us do it. But I do not believe that that’s the case. I
         believe the Navy would have allowed that and I see no rejection letters in all of my trips to
         the archives from the Navy.

  (Ex. 3, Excerpts of Lowell Depo, Vol. 1 at 166-167 (objections omitted)).

         34.     Regarding Paragraph 46, Plaintiffs do not dispute that Lowell abandoned the use of

  NAVSANDA Pub. No. 9 during his deposition because it is a 1940s era document that was cited

  primarily with regard to equipment manufacturers who provided equipment and repair parts in the

  1940s for some of Johnson’s ships. It does not apply to JCI’s gaskets and packing that would have

  been sold to the Navy in the 1960s and 1970s.

         35.     Regarding Paragraph 47, Plaintiffs do not dispute that Lowell relies on NAVMAT

  P-5100, Safety Precautions for Shore Activities, (March 1970) and that it applies primarily to

  Naval shore activities and Navy military and civilian personnel. (Ex. 15, Excerpts of NAVMAT

  P-5100 (Mar. 1970)). Lowell cites this document for its description of the extensive asbestos

  thermal insulation control procedures that were implemented in Navy shipyards, including Norfolk

  Naval Shipyard, where Laughlin’s ship was overhauled in November 1970, and where Johnson

  was employed as a pipefitter from 1974 to approximately 1980, to demonstrate that Plaintiffs’

  exposure to uncontrolled asbestos from thermal insulation work would have been unlikely and to

  show that none of these procedures address gaskets and packing. (See id. at 20-22 to 20-23). He

  also cites it to demonstrate that these asbestos control procedures were published under the Navy’s

  Safety Precautions for Shore Activities, rebutting Sargent’s ipse dixit opinion that asbestos was not

  a safety issue in the Navy. (See id. at cover and 20-22). Finally, he cites the Labeling Chapter for

  his opinion that the Navy told its own personnel that product suppliers, like JCI, were required to

  provide warnings in accordance with MIL-STD-1341, and that Navy supervisors were required to



                                                    16
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 17 of 35 PageID# 5749




  transfer those suppliers’ warnings if the product was repackaged or unpackaged prior to use. (Id.

  at 20-32, § 2086, ¶2, and §2087, ¶ 3).

         36.     Plaintiffs do not dispute the assertion in Paragraph 48 that Lowell also relies on the

  FHSA (formerly known as FHSLA), Fed. Std. 313, and MIL-STD-1341.

         37.     Regarding Paragraph 49, Plaintiffs agree that FHSA is incorporated into MIL-STD-

  129E (1970) and subsequent versions, and Plaintiffs agree that Lowell did not see FHSA prior to

  being involved in these cases. Lowell is not being offered as an expert regarding FHSA. Plaintiffs’

  warning and industrial hygiene expert, Spear, will discuss FHSA. Spear opines that FHSA required

  warnings on “toxic” substances, including asbestos, and that the 1966 amendments to FHSA

  required warnings to be placed on the face of the actual product in the form of a label or a tag if it

  was foreseeable that the product would be unpackaged before reaching the ultimate user. (Ex. 10,

  Excerpts of Spear Aff. & Report, at 95). JCI has disclosed no witness to testify about the portions

  of FHSA that were incorporated by reference into MIL-STD-129. Accordingly, the remainder of

  Paragraph 49 is the opinion of JCI’s attorneys and is not admissible evidence. Therefore, this Court

  should disregard the balance of the paragraph.

         38.     Regarding Paragraph 50, Plaintiffs do not dispute the first two sentences of the

  paragraph. Though Fed. Std. 313 adopts, in part, the National Fire Protection Association’s

  (NFPA) warning standards, JCI has disclosed no witness to testify about this industry warning

  standard. Sargent disclaimed any expertise for industry warning standards like the NFPA and

  MCA L-1 standards during his deposition. (Ex. 8, Sargent Depo in Johnson, at 29). Accordingly,

  the statements of JCI’s attorneys regarding the NFPA are solely their own opinions and are not

  competent evidence. Lowell and Spear rely on Fed. Std. 313 and its predecessor MIL-STD-1341

  mainly for their congruent definitions of “Hazardous Material” in Appendix B of each standard.



                                                   17
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 18 of 35 PageID# 5750




  This defines a hazardous material, in part, as a product that, in the course of normal use, releases

  dust that has a TLV less than 25 mppcf. Spear will opine that asbestos has always had a TLV less

  than 25 mppcf and, therefore, asbestos products were defined as hazardous materials under both

  of these standards. Because MIL-STD-1341 and later Fed. Std 313 were incorporated by reference

  into MIL-STD-129, and since MIL-STD-129 was, likewise, incorporated by reference in to the

  G&P specifications, this put JCI on notice that their products were “hazardous materials” under

  DOD and Federal warning standards and that they required warnings and Material Safety Data

  Sheets (MSDS). Sargent’s discussion of these standards in his Report is a single sentence, and

  JCI’s other witnesses do not mentions them at all. (ECF 208-2 Ex. 30, Sargent’s Report, at 37).

         39.     Plaintiffs do not dispute the assertions in Paragraph 51 for purposes of this motion.

         40.     Plaintiffs do not dispute the assertions in Paragraphs 52 through 55 about the

  Navy’s concerns about asbestos and the Navy’s efforts to control the hazard they purchased from

  asbestos thermal insulation manufacturers. Every Navy expert in this case, however, agrees that

  nobody in the Navy comprehended the hazards of asbestos gaskets until at least 1975 when Beckett

  tested gaskets at Puget Sound Naval Shipyard (PSNSY) with technology available to JCI for

  decades and recommended to the Commander of that Shipyard that gasket workers be treated as

  asbestos workers. (Ex. 16, 1975 Beckett Memo). This was not a Navy-wide decision; it was a

  recommendation for PSNSY. JCI’s Navy expert, Sargent, agreed that the Navy’s concerns up to

  this point were focused on asbestos thermal insulation, that the hazards of gaskets and packing

  were “completely off the Navy’s radar” and that actual Navy-wide procedures to guard against the

  hazards of gaskets and packing were not implemented until the latter 1970s or early 1980s. (Ex.

  8, Sargent Depo, at 110-119). Finally, Plaintiffs cannot comment on JCI’s beliefs in the final

  sentence of Paragraph 55; however, this statement is belied by Springs’ prior testimony that JCI



                                                  18
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 19 of 35 PageID# 5751




  began providing dust masks and local exhaust ventilation for its employees at its gasket cutting

  table in the 1940s. (Ex. 18, Springs Depo in Daniel v. JCI, at 33-37).

         41.     Regarding Paragraph 56, JCI misquotes Lowell’s statement in ¶ 6 of his 20-year

  old affidavit for GE. In that sentence, Lowell stated: “Warnings to the Navy or its shipbuilder by

  GE concerning the properties of gasket materials would have been superfluous.” (ECF 206-16, at

  ¶ 6 (emphasis added)). JCI leaves out “by GE.” GE was not a gasket manufacturer. Lowell was

  not asked in that affidavit to comment on whether a company, like JCI, that held itself out as a

  gasket manufacturer should have warned or whether its warnings would be superfluous.

         C. Counterstatement of Material Facts Not in Dispute.

         Summary: Plaintiffs’ experts, Spear and Lowell, will testify that DOD’s MIL-STD-129

  incorporated by reference the MCA L-1 Guide and the FHSA. JCI admits that MIL-STD-129 was,

  in turn, incorporated into the G&P specifications. Sargent agrees that incorporated documents

  became part of the cover document. Thus, JCI was required to comply with all of these documents

  when selling gaskets and packing to the government. Spear will testify that both the MCA L-1

  Guide and FHSA required JCI to put asbestos hazard warnings on the face of their asbestos gasket

  material and on the boxes and spools of their valve packing. None of JCI’s experts’ Reports

  mentions FHSA. The only JCI expert who mentions the MCA L-1 Guide in his report is Sargent,

  but he admitted that he does not hold himself out as an expert in industry warnings standards.

  Accordingly, Spear’s opinions regarding the MCA L-1 Guide and FHSA, as incorporated by

  reference into MIL-STD-129 and the G&P specifications are uncontested.

         1.      Plaintiffs have disclosed Lowell to testify, inter alia, about DOD’s MIL-STD-129

  and other military specifications and standards. (Ex. 2, Lowell Affidavit & Report).

         2.      Plaintiffs have disclosed Spear to testify, inter alia, about the MCA L-1 Guide and



                                                  19
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 20 of 35 PageID# 5752




  FHSA. (Ex. 10, Excerpts of Spear Affidavit & Report, at 80-85). Spear is an expert in the

  interpretation of federal and industry warnings standards and requirements and uses them to teach

  industrial hygiene students about warning principles. (Ex. 17, Spear Deposition in Johnson, at

  174). He discusses MIL-STD-129, the MCA L-1 Guide, and FHSA extensively in his report. (Ex.

  10, Spear Aff. & Report, at 80-85, 94-95).

         3.      JCI identified six experts in these cases: two navy experts, McCloskey and Sargent;

  an industrial hygiene expert, Ringo; a state-of-the-art expert, Sicilia; and two medical experts,

  Crapo and Beasley. McCloskey’s report never mentions FHSA or the MCA L-1 Guide. (ECF 210-

  7, McCloskey Report). Ringo’s Report never mentions MIL-STD-129, MCA L-1 Guide, FHSA,

  or any other military or industry warning standard. (See ECF 210-9, Ringo report). Crapo, Beasley,

  and Sicilia also do not mention any of these warning standards in their reports. (ECF 210-11, Crapo

  Report; ECF 210-12, Beasley Report; ECF 210-13, Sicilia Report).

         4.      Sargent is the only JCI expert who briefly discusses MIL-STD-129 and the MCA

  L-1 Guide in his report. (ECF 208-2, Ex. 30 to JCI’s MSJ, Sargent Report, at 35-37). Sargent does

  not mention FHSA in his report, and he does not discuss either FHSA or the MCA L-1 Guide in

  his rebuttal report. (Id.; Ex. 19, Sargent Rebuttal in Johnson).

         5.      Sargent’s report specifically discusses MIL-STD-129C (1960), which was revised

  twice before Plaintiffs’ respective exposures began. His report also addresses only the 1946

  version of the MCA L-1 Guide, which was revised at least six times before Plaintiffs’ respective

  exposure periods began. (ECF 208-2, Ex. 30 to JCI’s MSJ, Sargent Report, at 36).

         6.      Sargent admitted that he does not hold himself out as an expert with regard to

  industry warning standards like the MCA L-1 Guide or NFPA. (Ex. 8, Sargent Depo in Johnson,

  at 29). In Mullinex v. JCI, also pending in this Court, Sargent admitted that he has no experience



                                                   20
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 21 of 35 PageID# 5753




  interpreting FHSA. (Ex. 6, Sargent Depo in Mullinex, at 125). Accordingly, JCI has disclosed no

  expert qualified to contest Spear’s opinions regarding the requirements of the MCA L-1 Guide and

  FHSA, as incorporated by reference into MIL-STD-129.

         7.      According to Spear, the MCA L-1 Guide is an industry standard for when and how

  to formulate precautionary warning labels for hazardous substances. (Ex. 10, Spear Aff. & Report,

  at 73-74,76, 80, 83).

         8.      DOD started publishing MIL-STD-129 in the early 1950s. It was mandatory for use

  by the Departments of the Army, Navy, and Air Force. (Ex. 2, Lowell Aff. & Report, at 12).

  Sargent agrees that DOD published MIL-STD-129 and the standard is mandatory for all DOD

  agencies. (Ex. 6, Sargent Depo in Mullinex, at 122).

         9.      When another publication is incorporated by reference into a specification or

  standard, it becomes part of that specification or standard. (Ex. 5, Lowell Depo in Johnson, Vol.

  II at 154-155). Sargent agrees that “it means that the other standard is essentially part of the cover

  standard.” (Ex. 8, Sargent Depo in Johnson, at 140-141).

         10.     MIL-STD-129 provides “the requirements for the uniform marking of military

  supplies and equipment for shipment and storage.” (Ex. 5, Lowell Depo in Johnson, Vol. II at 153-

  54). Sargent agrees that this is the scope of the standard, and he further agrees that “the scope of

  this standard doesn’t have anything to do with household goods; correct? . . . A. It wouldn’t appear

  to.” (Ex. 6, Sargent Depo in Mullinex, at 123).

         11.     DOD incorporated the MCA L-1 Guide into MIL-STD-129D, which governed until

  1970. MIL-STD-129D provides:

         5.2.2.4 Hazardous Chemicals. All package units of hazardous chemicals to be ultimately
          issued to the consumer who may be exposed to such chemicals under conditions of
          ordinary use shall have affixed thereto such warning labels as may be required in
          accordance with the Manufacturing Chemists Association’s Manual L-1, A Guide for


                                                    21
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 22 of 35 PageID# 5754




          Preparation of Warning Labels for Hazardous Chemicals or in accordance with
          appropriate Department of Defense instructions as published which shall take precedence.

  (Ex. 2, Lowell Aff. & Report, at 13 (emphasis added); Ex. 10, Spear Aff. & Report, at 82-83).

         12.     Spear discusses “Public Law 86-613, better known as the Federal Hazardous

  Substances Labeling Act that was enacted by Congress on July 12, 1960.” (Ex. 10, Spear Aff. &

  Report, at 80). FHSA defines the term “hazardous substance” as:

         1. (A) Any substance or mixture of substances, which is “toxic” ... if such substance or
         mixture of substances may cause substantial personal injury or substantial illness during or
         as a proximate result of any customary or reasonably foreseeable handling or use ....

  (Ex. 10, Spear Aff. & Report, at 80-81).

         13.     FHSA defines “toxic” substance as “any substance which has the capacity to

  produce personal injury or illness to man, through ingestion, inhalation, or absorption ...” The term

  “label” is defined as:

         a display or written, printed, or graphic matter upon the immediate container of any
         substance: and a requirement made by or under authority of this Act that any word,
         statement, or other information appear on the label shall not be considered to be complied
         with unless such word, statement, or other information also appears ( 1) on the outside of
         container or wrapper, if any there be, unless it is easily legible through the outside container
         or wrapper, and (2) on all accompanying literature where there are directions for use,
         written or otherwise ...

  (Ex. 10, Spear Aff. & Report, at 81).

         14.     The 1961 version of the MCA L-1 Guide “published a year after the Federal

  Hazardous Substances Labeling Act was enacted, adopts verbatim the definition of dust, hazardous

  substance and toxic substance previously defined in the Federal Hazardous Substances Labeling

  Act.” (Ex. 10, Spear Aff. & Report, at 82). This version “also provides that ‘the text as presented

  in this guide should be used in addition to or in combination with any specific wording required

  by law ... such laws include the Federal Hazardous Substances Labeling Act.’” (Ex. 10, Spear Aff.

  & Report, at 82).



                                                   22
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 23 of 35 PageID# 5755




         15.     In 1966, Congress enacted “public law 89-756, which amends the Federal

  Hazardous Substances Labeling Act.” (Ex. 10, Spear Aff. & Report, at 83). This amendment

  dropped the word “Labeling” from the Act’s title and redefined the term “label” as follows:

         The term label means a display of written, printed, or graphic matter upon the immediate
         container of any substance or, in the case of an article which is unpackaged or is not
         packaged in an immediate container intended or suitable to deliver to the ultimate
         consumer, a display of such matter directly upon the article involved or upon a tag or
         other suitable material affixed thereto.

  (Ex. 10, Spear Aff. & Report, at 83 (emphasis added)).

         16.     “By 1966, the 1961 MCA L-1 Guide, which was incorporated by reference in MIL-

  STD-129D (1964), was already telling manufacturers of asbestos sheet gasket material to provide

  warning labels in accordance with the definitions of the Federal Hazardous Substances Act.” (Ex.

  10, Spear Aff. & Report, at 83).

         17.     Naval Supply Systems Command promulgated MIL-STD-1341(SA) in 1969. This

  standard required material safety data sheets (MSDS) and warning labels for any “hazardous

  material” supplied to the Navy. Appendix B defines a “Hazardous Material” as a material that “(b)

  Has a threshold limit value below ... 25 mppcf for dust . . . or (g) in the course of normal operations

  may produce dusts ... which have one or more of the above characteristics.” At this time, asbestos

  had a TLV of 5 mppcf; consequently, products that release asbestos dust “in the course of normal

  operations” were “hazardous material[s]” requiring MSDS sheets and warning labels. (Ex. 10,

  Spear Aff. & Report, at 84).

         18.     DOD adopted MIL-STD-1341 in 1970. It “was now ‘mandatory for use by all

  Departments and Agencies of the Department of Defense.’” It retained the same definition of

  “hazardous material.” (Ex. 10, Spear Aff. & Report, at 84).

         19.     Version E of MIL-STD-129 (1970) incorporated the MCA L-1 Guide, MIL-STD-

  1341, and FHSA and required warnings in accordance with these standards:

                                                    23
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 24 of 35 PageID# 5756




         5.2.2.5 Hazardous chemicals and materials. All unit and intermediate packages of
         hazardous chemicals and materials (including aerosol propellants) shall have affixed
         thereto the applicable warning label prescribed by MIL-STD-1341 (Symbols For Packages
         and Containers For Hazardous Industrial Chemicals and Materials), the Manufacturing
         Chemists Association Manual L-1, Guide to Precautionary Labeling of Hazardous
         Chemicals, and by DoD instructions and military specifications and other standards as
         published.

         5.2.2.5.1 Hazardous substances. All package units of hazardous substances (as defined by
         Public Law 86-613, Federal Hazardous Substances Act) to be ultimately issued to the
         consumer shall have affixed thereto such warning labels as may be required by Public Law
         86-613 and amendments or changes thereto.

  (Ex. 20, Excerpts of MIL-STD-129E, at 19; Ex. 2, Lowell Aff. & Report, at 13; Ex. 10, Spear Aff.

  & Report, at 84).

         20.     MIL-STD-129D and E define “package units” to include a “sheet” and a “roll” and

  it is the unit of the product that is issued to a consumer, like a machinist mate or pipefitter, who

  ultimately uses it. (Ex. 10, Spear Aff. & Report, at 80, 82-85, 95; Ex. 5, Lowell Depo in Johnson,

  Vol. II at 157-162). JCI’s sheet gasket material came in sheets and rolls. (Ex. 8, Sargent Depo in

  Johnson, at 158-159; Ex. 1, Springs Test. in Halsema v. JCI, 4/4/06, at 90).

         21.     Sargent agreed that typically the package unit that a machinist mate or pipefitter a

  receives is “a piece of the material . . . as opposed to a larger quantity.” (Ex. 8, Sargent Depo in

  Johnson, at 160). Sargent agreed that it was what was “being issued to people who will use them;

  correct? A. Yes, sir. . . . Q. . . . It’s to the actual person who’s going to be using it; correct? A.

  Yeah. Yes, sir. Uh-huh.” (Ex. 8, Sargent Depo in Johnson, at 166-67).

         22.     In sum, “[f]rom 1957 to at least 1976, every version [of MIL-STD-129]

  incorporated the MCA L-1 warning Guide. From 1960 to at least 1976 every version indirectly

  incorporated the FHSA’s warning provisions. From 1970 to at least 1976 every version directly

  incorporated the FHSA and its warning provisions.” (Ex. 2, Lowell Aff. & Report, at 14-15).

         23.     Spear concludes as follows:


                                                   24
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 25 of 35 PageID# 5757




         By virtue of this incorporation of FHSA and its 1966 amendment, John Crane, Inc. was
         required by DOD regulation and Federal law to include warnings directly on the sheet
         gasket material if it was “unpackaged or is not packaged in an immediate container
         intended or suitable for delivery to the ultimate consumer.”

  (Ex. 10, Spear Aff. & Report, at 84).

         24.     MIL-STD-129 “transcends the Navy, it includes the Navy, but it includes

  everybody in the Department of Defense. Q. So the Navy would have to abide by this standard;

  correct? A. Yes, sir.” (Ex. 5, Excerpts of Lowell Depo, Vol. II at 152-53). Sargent agrees that

  MIL-STD-129 “is excrutiatingly [sic] detailed and complete in specifying all aspects of marking

  requirements. Compliance with these requirements is mandatory. Deviations cannot be made

  without approval and specific instructions from a cognizant military authority.” (ECF 208-2, Ex.

  30 to JCI’s MSJ, Sargent Report, at 36).

         25.     JCI has disclosed no witness to dispute Spear’s opinions regarding the meaning and

  effect of the MCA L-1 Guide or FHSA, which were incorporated into MIL-STD-129. JCI admits

  that MIL-STD-129 was, in turn, incorporated into the G&P specifications.

         26.     In addition to the documents discussed above in Paragraph 19 of Section B,

  Responses to JCI’s Statement of Undisputed Facts, Lowell’s opinion that specifications state the

  minimum marking requirements is also supported by the 1966 Armed Services Procurement

  Regulations (ASPR), (see Ex. 21, 32 CFR § 1.1201(a), ASPR (1966) (noting that “specifications

  . . . shall state only the actual minimum requirements of the Government”), a 1968 Memorandum

  from the Assistant Secretary of Defense (Ex. 22, 1968 Memo, at 1 (“Current policy prescribes that

  the quality of items to be procured be specified or described in terms of minimum requirements.”),

  and the 1966 version of the GSA Guide (Ex. 23, 1966 GSA Guide, at 1 (same definition of

  “Specification” as in the 1963 Guide).




                                                 25
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 26 of 35 PageID# 5758




         27.     JCI admitted in the Mullinex case in 2017 that the Navy “never expressly rejected,

  prohibited or forbade you from including any warning with or on any product that you sold or

  supplied to the U.S. Navy, Department of Defense, or United States Government.” (Ex. 24, JCI’s

  Responses to Requests for Admissions in Mullinex v. JCI, at 53-54, RFA 7; see also id. at 50-56,

  RFAs 4-11). Springs verified these responses—to include the RFAs. (Id. at Verification Page).

                                            ARGUMENT

         To prove the affirmative government contractor defense, JCI must prove by a

  preponderance of the evidence that (1) the United States approved reasonably precise

  specifications; (2) the product conformed to those specifications; and (3) the JCI warned the United

  States about the dangers in the use of the product that were known to JCI but not to the United

  States. Boyle v. Un. Techs. Corp., 487 U.S. 500, 512 (1988). The Fourth Circuit refined this test

  for warning claims: “(1) the government exercised its discretion and approved certain warnings;

  (2) the contractor provided the warnings required by the government; [and] (3) the contractor

  warned the government about dangers in the equipment’s use that were known to the contractor

  but not to the government.” Sawyer v. Foster Wheeler, 860 F.3d 249, 256 (4th Cir. 2017).

         Under both tests, the elements are conjunctive, JCI bears the burden of proving them, and

  the proof must relate to the particular defect at issue. See Bailey v. McDonnell Douglas Corp., 989

  F.2d 794, 801 (5th Cir. 1993). Importantly, Boyle tethered the government contractor defense to

  the discretionary function immunity of the Federal Tort Claims Act; it is nothing more than a

  derivative form of the FTCA discretionary function immunity. Here, the government made a

  discretionary decision dating back to at least the Minimum Requirements Conference in 1942 to

  delegate primary responsibility for warnings to product suppliers. (See, e.g., Lowell’s Aff. &

  Report, at 18 (citing 1942 Navy Minimum Requirements Conference (noting that it is a “devil of



                                                  26
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 27 of 35 PageID# 5759




  a job” for the Navy, contract shipyards, and the Maritime commission to analyze each material to

  determine hazards and it is “very easy for the manufacturer who puts the labels on there to give us

  that information.”). JCI asks this Court to second guess that discretionary decision.

         JCI cannot prove the first prong of the government contractor defense. As Spear and Lowell

  stated in their reports and depositions, the warning standards in the MCA L-1 Guide and FHSA,

  which were incorporated into MIL-STD-129 and, therefore, into the gasket and packing

  specifications, required that all “package units” of hazardous substances to be issued to the user

  must contain the warnings. Additionally, the 1966 amendments to FHSA required that “in the case

  of an article which is unpackaged or is not packaged in an immediate container intended or suitable

  to deliver to the ultimate consumer,” the warning must be “directly upon the article involved or

  upon a tag or other suitable material affixed thereto.” (Ex. 10, Spear Aff. & Report, at 100). Sargent

  admits that the ultimate user was typically issued a piece of unpackaged sheet gasket material.

         JCI has disclosed no expert to address the FHSA. Sargent mentioned the MCA L-1 Guide,

  but admitted he is not an expert in industrial warning standards like this Guide. No other JCI

  witness mentions the MCA L-1 Guide. So, Spear’s opinions regarding the MCA L-1 Guide and

  FHSA, are uncontested. In fact, JCI does not mention Spear once in its MSJ.

         The only JCI witness who attempts to construe the gasket specifications, Sargent, relies

  solely on his own experience. But he admits that he never had any experience with the gasket

  specifications while he was in the Navy. His ipse dixit opinion that the specifications dictate the

  exclusive markings on the face of the gasket material is contradicted not only by Lowell, but by

  (1) the 1963 and 1966 GSA Guides, (2) the 1966 ASPR regulations, (3) the 1968 Assistant

  Secretary of Defense memo, (4) the consistent pre-2018 admissions of JCI’s corporate

  representatives, (5) the exemplars of JCI Navy gasket material that contained additional markings



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Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 28 of 35 PageID# 5760




  that were not part of JCI’s brand identification, and (6) the testimony of JCI’s gasket competitors

  that they started putting warnings on the face of their gasket material in the 1970s while these

  specifications controlled. Indeed, Sargent’s opinion is even contradicted by JCI’s admissions less

  than two years ago that the Navy “never expressly rejected, prohibited or forbade you from

  including any warning with or on any product that [it] sold or supplied to the U.S. Navy,

  Department of Defense, or United States Government.” (Ex. 24, JCI’s Responses to RFAs).

  Moreover, Sargent never explains why the Navy was permitted to ignore the clear “excrutiatingly

  [sic] detailed and complete” requirements of MIL-STD-129 when he admits that “[c]ompliance

  with these requirements is mandatory.”

           Boyle based its rationale on whether a tort requirement conflicts with a significant federal

  interest. Boyle, 487 U.S. at 508-512. “Stripped to its essentials, the military contractor’s defense

  under Boyle is to claim, ‘[t]he Government made me do it.’” In re Joint E. & S. Dist. N.Y. Asb.

  Litig., 897 F.2d 626, 632 (2d Cir. 1990). “Boyle displaces state law only when the Government,

  making a discretionary, safety-related military procurement decision contrary to the requirements

  of state law, incorporates this decision into a military contractor’s contractual obligations, thereby

  limiting the contractor’s ability to accommodate safety in a different fashion.” Id.

           As Spear’s uncontested opinions demonstrate, JCI was required by the MCA L-1 Guide

  and FHSA, which Sargent admits became part of MIL-STD-129 and the G&P specifications, to

  put warnings on its products, including the face of its gasket material. Spear states that these

  provisions told JCI to put warnings on the “package units” of JCI’s asbestos products—the

  package units that Lowell and Sargent agreed were issued the users of the products—Laughlin and

  Johnson. 2 Thus, not only did the government issue reasonably precise specifications telling JCI to



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      A number of courts have granted plaintiffs’ motions for summary judgment on this defense. See,

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Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 29 of 35 PageID# 5761




  warn, but those specifications were precisely in sync with the tort law duty to warn.

         Under the second prong, JCI was required to conform to the government’s specifications.

  JCI concedes that it never warned at all until after Plaintiffs’ exposures ended. Thus, JCI concedes

  it did not comply with reasonably precise specifications telling them to warn, and cannot prove the

  second prong.

         JCI cannot prove the third prong because JCI’s own expert admits that the dangers in the

  use of asbestos gaskets and packing were completely off the Navy’s radar during the relevant

  period. Sargent agrees that the first potential documentation showing that anyone in the Navy

  started to appreciate the dangers in the use of asbestos gaskets and packing was not until 1975 and

  all prior Navy asbestos control efforts were focused on thermal insulation. Significantly, the third

  prong of Boyle requires proof that “the supplier warned the United States about the dangers in the

  use of the equipment that were known to the supplier but not to the United States.” Boyle, 487

  U.S. 500, 512 (1988); accord Sawyer, 860 F.3d at 256. Contrary to JCI’s position, this prong does

  not relate to general hazards, it relates to product-specific dangers “in the use of” JCI’s product.

         “In cases involving products alleged to be defective due to inadequate warnings, ‘the

  manufacturer is held to the knowledge and skill of an expert. . . . The manufacturer’s status as

  expert means that at a minimum he must keep abreast of scientific knowledge, discoveries, and

  advances and is presumed to know what is imparted thereby.’” Foster v. Am. Home Prod. Corp.,

  29 F.3d 165, 169–70 (4th Cir.1994) (quoting Borel v. Fibreboard Paper Prods. Corp., 493 F.2d




  e.g., Trevino v. Gen. Dyn. Corp., 865 F.2d 1474, 1487-88 (5th Cir. 1989); McCormick v. C.E.
  Thurston & Sons, Inc., 977 F. Supp. 400, 403 (E.D. Va. 1997); Dorse v. Armstrong World Indus.,
  Inc., 716 F. Supp. 589, 592 (S.D. Fla. 1989) aff’d sub nom. Dorse v. Eagle-Picher Indus., Inc., 898
  F.2d 1487 (11th Cir. 1990). JCI’s reliance on the decision in Mullinex v. JCI, 4:18-cv-33 is
  misplaced. Magistrate Judge Krask was making a plausibility finding at the removal stage; he was
  not ruling on a summary judgment motion in view of the evidence adduced in the case.

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Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 30 of 35 PageID# 5762




  1076, 1098 (5th Cir.1973)). This expert status “is relevant in determining (1) whether the

  manufacturer knew or should have known the danger, and (2) whether the manufacturer was

  negligent in failing to communicate this superior knowledge to the user or consumer of its

  product.” Borel, 493 F.2d at 1089. JCI was the manufacturer 3 and is held to the status of an expert

  with regard to dangers in the use of its products. The Navy was the consumer and is not held to

  that standard. Because it is uncontested that the Navy was not aware of the dangers in the use of

  JCI’s products, and because it is uncontested that JCI did not warn the Navy of those dangers, JCI

  cannot prove the third element as a matter of law.

                                           CONCLUSION

         JCI has no evidence to prove any of the three elements of the government contractor

  defense. Spear’s opinions are not only uncontested by any JCI expert, but completely unaddressed

  by JCI’s MSJ. Accordingly, it is uncontested that the U.S. approved reasonably precise

  specifications telling contractors to warn. JCI admits it never warned of the hazards of its products

  until at least the 1980s and, thus, JCI cannot prove as a matter of law that its products conformed

  to those specifications. Finally, every Navy expert in this case, from both sides, admits that the

  dangers in the use of gaskets and packing were completely off the Navy’s radar; yet JCI admits it

  still failed to warn the Navy about the dangers in the use of the product that were known to JCI

  but not to the Navy under the third prong. Accordingly, this Court should deny JCI’s MSJ and

  grant Plaintiffs’ MPSJ on the Government Contractor and Sophisticated Purchaser Defense.




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    JCI manufactured the asbestos-containing packing that it supplied to the Navy. JCI “rebranded”
  the asbestos sheet gasket material with its own name and symbol number and sold it to the Navy
  as though it was its own product. “One who puts out as his own product a chattel manufactured by
  another is subject to the same liability as though he were its manufacturer.” Restatement (Second)
  of Torts § 400; see also Foster, 29 F.3d at 169–70.

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Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 31 of 35 PageID# 5763




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                                       31
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 32 of 35 PageID# 5764




                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 5th day of December, 2019, I electronically filed Plaintiffs’
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                                                32
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                                           33
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 34 of 35 PageID# 5766




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                                             34
Case 4:18-cv-00132-RAJ-LRL Document 227 Filed 12/05/19 Page 35 of 35 PageID# 5767




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                                              35
